Case 1:21-cv-00304-RMR-NYW Document 40 Filed 09/28/21 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-00304

  ROBERT HARRISON, on behalf of himself, the ENVISION MANAGEMENT HOLDING,
  INC. ESOP, and all other similarly situated individuals,

         Plaintiff,

  v.

  ENVISION MANAGEMENT HOLDING, INC. BOARD OF DIRECTORS, et al.,

         Defendants.


                                  ENTRY OF APPEARANCE


  To the clerk of court and all parties of record:

         I hereby certify that I am a member in good standing of the bar of this court, and I

  appear in this case as counsel for:

            Robert Harrison                     ,



         DATED at Washington, DC this 28th day of September, 2021

                                                      Ryan Wheeler                           ,
                                                     Name of Attorney
                                                       Cohen Milstein Sellers & Toll, PLLC       ,
                                                     Firm Name
                                                        1100 New York Ave. NW, 5th Floor         ,
                                                     Office Address
                                                        Washington, DC 20001                     ,
                                                     City, State, ZIP Code
                                                        (202) 408-4600                           ,
                                                     Telephone Number
                                                        rwheeler@cohenmilstein.com                   .
                                                     Primary CM/ECF E-mail Address



                                                1
Case 1:21-cv-00304-RMR-NYW Document 40 Filed 09/28/21 USDC Colorado Page 2 of 2




                               CERTIFICATE OF SERVICE

  I hereby certify that on September 28, 2021, a correct copy of the foregoing was sent to
  all counsel via CM/ECF.



                                             s/   Ryan Wheeler




                                             2
